                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA



UNITED STATES OF AMERICA                             )
                                                     )       Case No. 1:12-cr-20
v.                                                   )
                                                     )       COLLIER / LEE
CHRISTOPHER HAMILTON                                 )

                                            ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the five-count

Superseding Indictment; (2) accept Defendant’s plea of guilty to Count One of the Superseding

Indictment; (3) adjudicate Defendant guilty of the charges set forth in Count One of the Superseding

Indictment; (4) defer a decision on whether to accept the plea agreement until sentencing; and

(5) find Defendant shall remain in custody until sentencing in this matter (Court File No. 81).

Neither party filed a timely objection to the report and recommendation. After reviewing the record,

the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Court File No. 81)

pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Superseding

               Indictment is GRANTED;

       (2)     Defendant’s plea of guilty to Count One of the Superseding Indictment is

               ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

               Superseding Indictment;




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      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on Thursday, June 6, 2013 at 9:00 a.m. before the

            Honorable Curtis L. Collier.

      SO ORDERED.

      ENTER:


                                           /s/
                                           CURTIS L. COLLIER
                                           UNITED STATES DISTRICT JUDGE




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